                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       NO. 3:14-00090
                                                  )       JUDGE CAMPBELL
JAMAL COOPER                                      )

                                           ORDER

        Pending before the Court is a Motion to Substitute Counsel (Docket No. 14). The Motion

is GRANTED.

        It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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